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                                                   EXHIBIT B

           Date                      Participants (Excluding Expert & Advisors)                  Type of Meeting

     8/22/2024           Debtor Counsel (Jones Walker LLP)                                      Zoom

     8/29/2024           Debtor Counsel and Financial Advisor (Jones Walker LLP; Keegan         Zoom
                         Linscott)

     8/29/2024           UCC Counsel (Pachulski Stang Ziehl & Jones LLP; Locke Lord LLP)        Zoom

     8/30/2024           Debtor Financial Advisor (Keegan Linscott)                             Zoom

     8/30/2024           Individual Survivors Counsel (Herman, Herman & Katz; Richard C.        Zoom
                         Trahant; Shearman Denenea, L.L.C.; Delacroix & Delacroix LLC;
                         Townsend Law, LLC; N. Frank Elliot III, LLC; Huber Tomas &
                         Marcelle LP; Gainsburgh Benjamin David Meunier & Warshauer
                         LLC; Lamothe Law Firm LLC; Salim-Beasley LLC; and Robinson Law
                         Offices LLC)

     9/4/2024            Debtor Financial Advisor (Keegan Linscott)                             Zoom

     9/4/2024            Apostolates Counsel (Heller, Draper, Patrick, Horn, & Manthey LLC)     Zoom

     9/4/2024            UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones       Zoom
                         LLP; Locke Lord LLP; BRG)

     9/5/2024            Debtor Counsel (Jones Walker LLP)                                      Zoom

     9/5/2024            UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones       Zoom
                         LLP; Locke Lord LLP; BRG)

     9/6/2024            Travelers Counsel (Dentons LLP)                                        Zoom

     9/6/2024 1          UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones       Zoom
                         LLP; Locke Lord LLP; BRG)

     9/6/2024            Argent and Counsel (Greenberg Traurig, LLP; Argent)                    Zoom

     9/6/2024            Debtor Financial Advisor (Keegan Linscott)                             Zoom

     9/6/2024            Certain Abuse Survivors Counsel (Herman, Herman & Katz; Richard        Zoom
                         C. Trahant; Shearman Denenea, L.L.C.)

     9/9/2024            Certain Abuse Survivors Counsel (Herman, Herman & Katz; Richard        In-Person
                         C. Trahant; Shearman Denenea, L.L.C.)

     9/9/2024            Individual Survivor 1                                                  In-Person


 1
       The Expert and his advisors met with UCC counsel and its financial advisor twice on September 6, 2024.
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        Date                     Participants (Excluding Expert & Advisors)                 Type of Meeting

  9/9/2024            Individual Survivor 2                                                Zoom

  9/9/2024            Debtor (Archbishop Aymond; Lee Eagan; General Counsel of             In-Person
                      Archdiocese of New Orleans; Jones Walker LLP)

  9/10/2024           Individual Survivor 3                                                Zoom

  9/10/2024           Individual Survivor 4                                                In-Person

  9/10/2024           Apostolates Counsel (Heller, Draper, Patrick, Horn, & Manthey LLC)   In-Person

  9/13/2024           United States Fire Insurance Company and International Insurance     Zoom
                      Company (O’Melveny & Myers LLP)

               9/13/2024 – Competing Chapter 11 Plans Filed by the Debtor and UCC, Respectively

  9/16/2024           Debtor Financial Advisor (Keegan Linscott)                           Zoom

  9/17/2024           Debtor Financial Advisor (Keegan Linscott)                           Zoom

  9/17/2024           Hartford Counsel (Ruggeri Parks Weinberg LLP)                        Zoom

  9/17/2024           UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones     Zoom
                      LLP; Locke Lord LLP; BRG)

  9/18/2024           Catholic Mutual Relief Society Counsel (ArentFox Schiff LLP)         Zoom

  9/19/2024           Debtor Counsel (Jones Walker LLP)                                    Zoom

  9/19/2024           UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones     Zoom
                      LLP; Locke Lord LLP; BRG)

  9/23/2024           Commercial Committee Counsel (Stewart Robbins Brown & Altazan,       Zoom
                      LLC)

  9/23/2024           Debtor and Financial Advisor (Keegan Linscott; Lee Eagan)            Zoom

  9/23/2024           Second Harvest Food Bank of Greater New Orleans and Acadiana         Zoom
                      (Baker Donelson Bearman Caldwell & Berkowitz PC)

  9/25/2024           UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones     Zoom
                      LLP; Locke Lord LLP; BRG)

  9/25/2024           Debtor Insurance Counsel (Blank Rome LLP)                            Zoom

  9/26/2024           Argent Counsel (Greenberg Traurig, LLP)                              Zoom

  9/27/2024           Debtor and Apostolates (Jones Walker LLP; Keegan Linscott; Lee       Zoom
                      Eagan; Heller, Draper, Patrick, Horn, & Manthey LLC)

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        Date                Participants (Excluding Expert & Advisors)               Type of Meeting

  9/30/2024      Travelers Counsel (Dentons LLP)                                    Zoom

  10/3/2024      Argent Counsel (Greenberg Traurig, LLP)                            Zoom

  10/3/2024      Debtor Financial Advisor (Keegan Linscott)                         Zoom

  10/7/2024      UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones   Zoom
                 LLP; Locke Lord LLP; BRG)

  10/8/2024      SPARTA and Counsel (Sidley Austin LLP; SPARTA; Catalina Re;        Zoom
                 Hinkhouse Williams Walsh LLP)

  10/10/2024     UCC Counsel and Financial Advisor (Pachulski Stang Ziehl & Jones   Zoom
                 LLP; Locke Lord LLP; BRG)

  10/11/2024     Debtor and Counsel (Lee Eagan; Jones Walker LLP)                   Zoom

  10/16/2024     Debtor and Apostolates (Lee Eagan; Jones Walker LLP; Heller,       Zoom
                 Draper, Patrick, Horn, & Manthey LLC)

  10/18/2024     Mediator (Judge Gregg W. Zive)                                     Zoom

  10/18/2024     Mediator (John W. Perry, Jr.)                                      Call

  10/21/2024     Mediator (Judge Gregg W. Zive)                                     Call

  10/21/2024     UCC Counsel (Pachulski Stang Ziehl & Jones LLP)                    Call

  10/21/2024     Certain Abuse Survivors Counsel (Herman, Herman & Katz)            Zoom

  10/22/2024     Mediator (Judge Gregg W. Zive)                                     Zoom




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